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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                     Plaintiff,                )
                                               )                 8:14CR409
       vs.                                     )
                                               )                   ORDER
SHANE SEIZYS,                                  )
EMMANUEL CHAPLAIN,                             )
DILANG DAT,                                    )
THOMAS JONES-ROSS,                             )
                                               )
                     Defendants.               )

       This matter is before the court on the defendant Shane Seizys’ unopposed motion
to continue trial [165] as counsel is previously scheduled in at least three other trials. Good
cause being shown, the motion will be granted and the trial shall be continued. The
defendant shall comply with NECrimR 12.1(a).

       IT IS ORDERED that the unopposed motion to continue trial [18] is granted, as
follows:

     1. The jury trial, for all defendants, now set for November 9, 2015 is continued to
January 5, 2016.

       2. Defendant is ordered to file a waiver of speedy trial as soon as practicable

        3. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of
justice will be served by granting this continuance and outweigh the interests of the public
and the defendant in a speedy trial. Any additional time arising as a result of the granting
of this motion, that is, the time between today’s date and January 5, 2016, shall be
deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act. Failure to grant a continuance would deny counsel for the defendant the
reasonable time necessary for effective preparation, taking into account the exercise of due
diligence. 18 U.S.C. § 3161(h)(7)(A) & (B)(iv).

       DATED October 23, 2015.

                                           BY THE COURT:

                                           s/ F.A. Gossett
                                           United States Magistrate Judge
